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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

PAUL JONES,

Plaintiff,
v. Civil ActionNo. 9 U/(1 V306F 7
SYNCRONY BANK

MONARCH RECOVREY MANAGEMENT
INC

RATCHFORD LAW GROUP P.C
ERIN M. RECZEK, ESQ

Defendant.

VERIFIED COMPLAINT

1. This action arises out of Defendant’s Synchrony Bank (“Synchrony”) , Monarch
Recovery Management Inc., (“Monarch”), Ratchford Law Group P.C (“Ratchford”) and
Erin M. Reczek (“Erin”) repeated violations of the Fair Debt Collection Practices Act, 15
U.S.C. § 1692, et seq. (“FDCPA”) in its illegal efforts to collect a consumer debt.

JURISDICTION

2. Venue is proper because the complained of events occurred in this district and all
defendants conduct business in this district.

3. The Court has jurisdiction over this class action under 28 U.S.C. § 1331, 15 U.S.C. §
1692 et seq. and 28 U.S.C. § 2201. If applicable, the Court also has pendent jurisdiction
over the state law claims in this action pursuant to 28 U.S.C. § 1367(a).

4. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2)
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PARTIES

Plaintiff, Paul Jones is an adult individual residing at 79 Thompson Street Springfield,
Ma 01109 Hampton County Massachusetts, and is a "debtor" as defined by 940 C.MLR. §
7.03. and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).,and MGL 93a.
Defendant, Synchrony Bank, is a federal savings bank headquartered at 170 West
Election Road, Suite 125, Draper, Utah 84020, and is a "creditor" as defined by 940
CMR § 7 .03. Upon information and belief, Synchrony does not maintain a place of
business within the Commonwealth of Massachusetts, nor does it keep any assets in the
Commonwealth of Massachusetts and is a "creditor" as defined by 940 CMR § 7.03.
Defendant Monarch Recovery Management Inc. is a collection agency with its principal
office located at 3260 Tillman Drive, Suite 75, Bensalem, Pennsylvania 19020.
Defendant Ratchford Law Group P.C (“Ratchford”) is a law firm located at 89 Newbury
St, Ste 106, Danvers, MA 01923 and is a debt collector.
Defendant Erin M. Reczek and is an attorney that is located at 89 Newbury St, Ste 106,
Danvers, MA 01923 and is a debt collector.
Does 1-5 (the “Collectors”) are individual collectors employed by Ability and whose
identities are currently unknown to Plaintiff. One or more of the Collectors may be joined
as parties once their identities are disclosed through discovery.

ALLEGATIONS
THE DEBT
Plaintiff allegedly incurred a financial obligation (the “Debt”) to Synchrony Bank the

original creditor (the “Synchrony”).
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Defendant Synchrony attempted to collect the Debt from Plaintiff and, as such, initiated
and engaged in "communications" as defined in 940 CMR § 7 .03.

At all relevant times all defendants attempted to collect the Debt from Plaintiff, the Debt
was alleged to be more than thirty days past due.

Plaintiff allegedly incurred a financial obligation arising out of a personal credit card loan
(the "Debt") which meet the definition of a "debt" under 940 CMR § 7.03.

The Debt arose from the Creditor which were primarily for family, personal or household
purposes, which meets the definition of a “debt” under 15 U.S.C. § 1692a(5).

The Debt was purchased, assigned, or transferred to Monarch, Ratchford Law Group P.C
and / or Erin M. Reczek for collection, or was employed by Synchrony to collect the
Debt.

Defendants Monarch, Ratchford and Erin attempted to collect the Debt and, as such,
engaged in “communications” as defined in 15 U.S.C. § 1692a(2).

Synchrony & Monarch Engages in Unfair Business Practices
Excessive Phone Calls Claim

Defendant Synchrony and Monarch whose regular practice is to call its Massachusetts
residents on a near-daily basis to collect consumer debts. See, e.g.,

https://www.bbb.org/us/oh/kettering/profile/credit-cards-and-plans/synchrony-0322

5001136/customer-reviews ( customer complaints regarding Synchrony included that
Synchrony placed daily collection calls) (last visited Oct. 13, 2020).

Defendants Synchrony's and Monarch calling practices are illegal in Massachusetts as the
Massachusetts Attorney General has regulated it an “unfair or deceptive act or practice
for a creditor" to "initiate a communication with any debtor via telephone, either in

person or via text messaging or recorded audio message, in excess of two such
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communications in each seven-day period to either the debtor's residence, cellular
telephone, or other telephone number provided by the debtor as his or her personal
telephone number, for each debt ...." 940 CMR § 7.04(1)(f); see also Armata v. Target
Corp., 480 Mass. 14, 15-16, 23, 99 N.E.3d 788, 790, 795-96 (2018) ("The regulation
applies to any attempted telephonic communication by a creditor to a debtor in an effort
to collect a debt, so long as ... the creditor is able to reach the debtor or to leave a
voicemail message for the debtor.") (quoting 940 CMR § 7.04(1)(t)).

Defendants Synchrony's and Monarch placed more than two collection calls to Plaintiff
Paul Jones ("Plaintiff) within a seven-day period in an attempt to collect a debt, violating
the express provisions of§ 7.04(1 )(f).

Plaintiff allegedly incurred a financial obligation arising out of a personal credit

card loan (the "Debt") which meet the definition of a "debt" under 940 CMR § 7.03.
Defendants Synchrony and Monarch attempted to collect the Debt from Plaintiff and, as
such, initiated and engaged in "communications" as defined in 940 CMR § 7 .03.
Defendants Synchrony and Monarch called Plaintiffs cellular telephone in an attempt to
collect the Debt.

Defendants Synchrony and Monarch called Plaintiffs cellular telephone at number 617-
939-5417.

Defendants Synchrony and Monarch placed the calls from, inter alia, private number,
telephone numbers ending in 855-844-0114,844-280-6824, 6701, 6698, 6709, 6739,

6724, 6698, 6701, 6768, for the last 18 months.
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Defendants Synchrony and Monarch left computerized voice messages with calls from,
inter alia, private number, telephone numbers and numbers ending in 855-844-0114,844-
280-68246701, 6698, 6709, 6739, 6724, 6698, 6701, 6768 for the last 18 months.

Within the last 18 months, Defendants Synchrony and Monarch called Plaintiffs cellular
telephone in excess of two times within a seven-day period in an attempt to collect the
Debt, over and over.

Defendants Monarch and Synchrony called from blocked number more than two times in
a seven day period.

At all times that Defendants Synchrony and Monarch called Plaintiffs cellular telephone
in an attempt to collect the Debt, Plaintiffs voicemail was set up and functioning
properly.

Defendants Synchrony and Monarch repeated calls wasted Plaintiffs time and energy
spent tending to Synchrony calls.

Synchorny committed unfair acts by making unlawfully frequent contacts with borrowers
by telephone by calling plaintiff more than two times in a seven day period contrary to
940 C.MLR. § 7.04(1).

Communications with a debtor are unfair if they are undertaken “with unreasonable
frequency.” G.L. c. 93, § 49(c). Creditors may not initiate more than two telephone
communications with a debtor during any seven day period. See 940 C.M.R. § 7.04(1).
“.” Commonwealth v. Credit Acceptance Corp., Docket: 2084CV01954-BLS2, (Mass.
Super. Mar. 15, 2021).

This Call Regulation applies “whether the telephonic message is live, via text message, or

via recorded audio message.” Armata v. Target Corp., 480 Mass. 14. 20 (2018).

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It therefore “applies to any attempted telephonic communication by a creditor to a debtor
in an effort to collect a debt, so long as ... the creditor is able to reach the debtor or to
leave a voicemail message for the debtor.” Id. at 15-16. A violation of § 7.04(1)(f) will
constitute a violation of G.L. c. 93A. See 940 C.MLR. § 3.16(3). See Commonwealth v.

Credit Acceptance Corp., Docket: 2084CV01954-BLS2, (Mass. Super. Mar. 15, 2021).

MONARCH, ERIN AND RATCHFORD LAW GROUP P.C CONDUCT
CONTRARY TO THE FDCPA
This action arises out of Defendants’ Monarch Recovery Management Inc., Erin M.
Reczek and Ratchford Law Group P.C debt collectors repeated violations of the Fair
Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”).
The Debt was purchased, assigned, or transferred to Monarch, Erin and / or Ratchford for
collection and or was employed by the debt collector Monarch or Creditor Synchrony to
collect the Debt.
The Defendants Monarch Recovery Management Inc., Erin M. Reczek and Ratchford
Law Group P.C attempted to collect the Debt and, as such, engaged in “communications”
as defined in 15 U.S.C. § 1692a(2).
THE DEFENDANT MONARCH FAILURE TO INCORPORATE THE CFPB
NEW REGULATION (F) VERBIAGE IN THEIR DUNNING LETTER WHICH

TOOK EFFECT NOVEMBER 30, 2021

38. Defendant Monarch purchased or was assigned the allegedly defaulted debt to collect.

Therefore, Defendant Monarch a “debt collector” as defined by 15 U.S.C. § 1692a(6).
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39. Defendant Monarch collects and attempts to collect debts incurred or alleged to have
been incurred for personal, family, or household purposes on behalf of creditors using the
United States Postal Services, telephone, and internet.

40. Defendant Monarch contracted Erin and Rachet to collect Synchrony old, alleged debt.

Violation — July 3, 2023, Collection Letter

41. On July 3, 2023, Defendant Monarch mailed a letter to Plaintiff in an attempt to collect a
Debt of $5037.41. See Exhibit 1.

42. Plaintiff sent Monarch a debt validation request on July 17, 2023, after receiving
Monarch debt validation letter on July 3, 2023.

43. Defendant Monarch disregarded or failed to adequately investigate plaintiff written
disputes.

44. Defendant Monarch failed to send the plaintiff account level documentation to validate
the debt including an original credit card application and statements.

45. Pursuant to 15 U.S.C. § 16921(d) “Except as provided in section 1029(a) of the Consumer
Financial Protection Act of 2010 (12 U.S.C. 5519(a)), the Bureau may prescribe rules
with respect to the collection of debts by debt collectors, as defined in this subchapter.”

46. Accordingly, the CFPB prepared and issued rules prescribed under 12 CFR § 1006,
commonly referred to as Regulation F.

47. The July 3, 2023, Letter contains some of the notices previously required by 15 U.S.C. §
1692g, but does not include the additional information required by Regulation F.

48. Specifically, the Letter only provides the following:

Amount: $5037.41

Name of the creditor: Synchrony Bank
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No Name of the Original Creditor:

49. Defendant Monarch July 3, 2023, correspondence fails to include most of the information
described in the CFPB section CFR § 1006.34.

50. The letter failed to advise Plaintiff of his right to dispute the Debt within 30 days, the
address of Defendant’s July 3, 2021, correspondence does not comply with 12 CFR
1006.34, which outlines multiple requirements debt collectors must adhere when sending
dunning letters to consumers above such as :

Itemization date and amount of debt on the itemization date

Itemization of the current amount of debt

Information about consumer protections

Consumer-response information (attached in a tear-off format for paper notices)
charge off date of the subject debt.

51. Instead, in its letter, Monarch offered plaintiff free payment option plans and it was not
Compliant use of the model validation notice which provides safe harbor for the Rule’s
content and format requirements. 12 CFR 1006.34(d)(2).

52. The option plan overshadowed Plaintiff’s right to dispute the Debt within 30 days.

53. Frustrated over Defendant’s Monarch conduct, Plaintiff spoke with several attorney
regarding her rights.

54. Plaintiff had to come up with money to file this lawsuit and the Plaintiff has incurred
costs and expenses consulting with attorneys and filed this lawsuit as a result of
Defendant’s Monarch conduct.

55. Accordingly, the Letter failed to include multiple disclosures and statements required

pursuant the rules promulgated by the CFPB.
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Specifically, the Letter fails to include an itemization date of any kind, any reference to
an itemization date or a statement specifying the creditor on such date in violation of 12
CFR § 1006.34(c)({2).

Additionally, the Letter failed to provide any of the specific dates required under 12 CFR
§ 1006.34(c)(3) and thus it failed to properly advise Plaintiff of the relevant information
concerning consumer protections.

The Letter further failed to provide the necessary Consumer-response information
required under 12 CFR § 1006.34(c)(4).

In addition to failing to provide all of the information required by the various subsections
of 12 CFR § 1006.34(c), the Letter also failed to clearly and conspicuously provide the
validation information generally, in violation of 12 CFR § 1006.34(d).

Plaintiff sent defendant Monarch several debt validation request by USPS defendants
failed to send plaintiff original account level documentation from $0-$5037.14 they say I
owed.

Defendants also failed to provide the required disclosures in a manner that was
reasonably expected to provide actual notice in violation of 12 CFR § 1006.42.

As a result, Plaintiff was unable to determine precisely when the validation periods would
end, which the CFPB determined was necessary to have a fully informed consumer.
Defendants’ Monarch omissions and misrepresentations cause a negative shadow over its
debt collection practice in general.

When they go astray, debt collectors often introduce a tacit element of confusion into

their dunning letter to leave the consumer somewhat uninformed.
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65. This strategy helps debt collectors to achieve leverage over consumers by keeping key
pieces of information away from them.

66. To that end, one important element of consumer protection revolves around keeping the
consumer informed.

67. When a consumer has as much information as the debt collector, they are most capable of
handling repayment in full or part, disputing the debt, or otherwise communicating with
the debt collector on a more equal playing field.

68. However, when a debt collector withholds key information about debt from the
consumer, they encourage rash decision-making and consumers are left without any
power to face a debt collector in a meaningful way.

69. Accordingly, when a consumer is faced with something less than the total story behind
owing a debt, they often give up and choose to pay an unwarranted debt to avoid further
trouble.

70. As a result of Defendants’ Monarch multiple FDCPA violations, Plaintiff was unable to
evaluate his options of how to handle this debt.

71. Because of this, Plaintiff expended time, money, and effort in determining the proper
course of action.

72. These violations by Defendants Monarch were knowing, willful, negligent, and/or
intentional, and Defendants did not maintain procedures reasonably adapted to avoid such
violations.

73. Knowing the state of affairs and the swift tricks that debt collectors attempt against

consumers, Congress passed laws to protect consumers.

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Congress further empowered the CFPB to promulgate rules for debt collectors to follow
in their attempts to collect a debt.

As noted above, the CFPB set forth a series of rules under Regulation F, the primary
purpose of such rules to ensure that the consumer is completely advised as to the status of
the debt.
As it relates to this case, Congress identified a concrete and particularized harm with a
close common-law analogue of the traditional tort of fraud.

Defendants’ Monarch debt collection efforts with respect to this alleged debt from
Plaintiff caused Plaintiff to suffer concrete and particularized harm, inter alia, because the
FDCPA provides Plaintiff with the legally protected right to not be misled or treated
unfairly with respect to any action regarding the collection of any consumer debt.
Defendants’ Monarch violations were material misrepresentations because they are likely
to affect Plaintiffs choice or conduct regarding how to respond to an outstanding debt
claim and are likely to mislead Plaintiff, who was acting reasonably under the
circumstances.

Specifically, Defendants’ Monarch careless, deceptive, misleading, and unfair
representations and/or omissions with respect to its collection efforts were material
misrepresentations that affected and frustrated Plaintiff’s ability to intelligently respond
to Defendants’ collection efforts.

Plaintiff was confused and misled to his detriments by the statements in the Letter and
relied on the contents of the Letter to her detriment.

Plaintiff would have pursued a different course of action were it not for Defendants’

Monarch statutory violations.

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When a debt collector fails to effectively inform the consumer of their rights and legal
status of their debts, in violation of statutory law, the debt collector has harmed the
consumer.

As a result of Defendants’ Monarch deceptive, misleading, and false debt collection
practices, Plaintiff has been damaged.

Defendants’ Monarch actions created an appreciable risk to Plaintiff of being unable to
properly respond or handle Defendants’ debt collection.

Plaintiff was confused and missed to her detriment by the statements and/or omissions in
the dunning letter, and relied on the contents of the letter to his detriment.

Plaintiff would have pursued a different course of action were it not for Defendants’
Monarch statutory violations.

As a result of Defendants’ Monarch deceptive, misleading, unfair, unconscionable, and
false debt collection practices, Plaintiff has been damaged.

DEFENDANTS RATCHFORD LAW GROUP P.C ERIN M. RECZEK, ESQ

The Defendants Erin and Ratchford failed to validated the debt with account level
documentation when plaintiff sent three validations of debt on July 27, 2023, November
18, 2023, and on November30, 2023.

The Defendants Erin and Ratchford sued plaintiff without having or sending account
level documentation. See Exhibit 2.

The defendants Erin and Ratchford sued the plaintiff in Small claims court without
obtaining the underlying documentation, such as original account statements, original
Credit contracts and credit agreements, necessary to ensure the debt was valid and

accurate.

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91. Defendants Erin and Ratchford falsifying information that Synchrony was suing the
plaintiff when in fact the debt was charged off and resold.

92. The defendants Erin and Ratchford misled the plaintiff and the Hampden county Small
claims court when they filed a lawsuit and claimed Synchrony was the plaintiff after
Synchrony charged the debt off and sold it.

93. Defendants Erin and Ratchford pursued a consumer’s based lawsuit against the plaintiff
on this falsified information that Synchrony was the plaintiff when they were not.

94. Defendant Erin and Ratchford knew that Plaintiff did not owe synchrony $5037.41 when
they sued plaintiff.

95. Defendant Erin and Ratchford knew that synchrony was not the actual plaintiff in the
Small Claims case 23235C002694 when they sued plaintiff. See Exhibit 2.

96. Defendant Erin and Ratchford knew the seller of plaintiff’s debt didn’t promise it was
accurate or valid.

97. Defendant Erin and Ratchford knew the debt was part of a portfolio they knew included
unsupportable or inaccurate information before they sued plaintiff in the Small Claims
court. See Exhibit 2.

98. Defendant Erin and Ratchford did not have documents and information showing the debt
was accurate and enforceable before they sued the plaintiff on September 29, 2023. See
Exhibit 2.

99. Defendant Erin and Ratchford fail to provide the plaintiff with information about a debt,
such as the name of the creditor and charge-off balance, when plaintiff sent the debt

validations on July 27, 2023, November 18, 2023, or on November30, 2023.

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100. Defendant Erin and Ratchford failed to offer to provide plaintiff with original
documents relating to the account before they file the September 29, 2023, lawsuit
against the plaintiff.

101. Defendant Erin and Ratchford disregarded or failed to adequately investigate
plaintiff written disputes.

Plaintiff Suffered Actual Damages and Injury

102. Plaintiff has a concrete and particularized injury” that provides Article III
standing.

103. Plaintiff has Article III, prudential and statutory standing to bring this lawsuit.

104, Defendants Erin and Rachet injured plaintiff when they sued me without anu

account level documentation.

105. Defendant Synchrony and Monarch injured plaintiff when the called me more
than two times in a 7 day period

106. All defendants caused plaintiff harm when they wasted my time and money to file
this lawsuit.

107. As a direct consequence of Synchrony's repeated calls to Plaintiffs cellular
telephone in an attempt to collect the Debt, Plaintiff became angry, frustrated, and
anxious, and suffered from emotional distress.

108. Synchronies and Monarchs repeated calls to Plaintiff were also distracting and an
inconvenience to Plaintiff, and wasted Plaintiffs time and energy spent tending to
Synchrony's calls.

109. All defendants illegal conduct, which has resulted in the invasion of privacy,

harassment, aggravation, and disruption of the daily life of Plaintiff.

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COUNT I
VIOLATIONS OF M.G.L. c. 93A, § 2, AND 940 CMR § 7.04(1)(1)
DEFENDANTS SYNCRONY AND MONARCH

110. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully stated herein.

111. Defendant initiated communication via telephone in excess of two times within a
seven-day period regarding a Debt to Plaintiffs cellular telephone in violation of 940
CMR § 7.04(1)(f).

112. Defendant's failure to comply with 940 CMR § 7.04(1}(f) constitutes an unfair or
deceptive act in violation of M.G.L. c. 93A § 2.

113. Defendant willfully or knowingly violated 940 CMR § 7.04(1)(t), and as such,
Plaintiff is entitled to double or treble damages plus reasonable attorney's fees and costs.

114. Pursuant to M.G.L. c. 93A, § 9, Plaintiff is entitled to and does seek equitable
relief in the form of an injunction preventing Defendant from placing in excess of two
collection calls within any seven days to any Massachusetts consumers’ telephone
regarding a debt.

115. Pursuant to M.G.L. c. 93A, § 9, Plaintiff is entitled to and does seek declaratory
relief such that:

116. Defendant knowingly and willfully violated M.G.L. c. 93A c. 93A, § 2 and 940
CMR § 7 .04(1 )(f) as to Plaintiff and the class; and It has been Defendant's practice and
history to place in excess of two debt collection telephone calls within seven days to

Massachusetts consumers regarding a debt.

WHEREFORE, Plaintiff asks that the Court enter judgment in favor of Plaintiff against

Defendants Synchrony and Monarch , as follows: An injunction preventing Defendants from

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placing in excess of two collection calls within any seven days to any Plaintiff a
Massachusetts consumers' telephone regarding a debt; Awarding actual and/or statutory
damages under M.G.L. c. 93A § 9, Awarding treble damages under M.G.L. c. 93A § 9;,
Awarding reasonable attorney fees, litigation expenses and costs incurred pursuant to M.G.L.

c. 93A § 9; and Granting such other and further relief this Court deems just and appropriate.

COUNT II
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. §1692e et seq.
MONARCH, RATCHFORD AND ERIN

117. Plaintiff repeats, reiterates, and incorporates the allegations contained in
paragraphs above herein with the same force and effect as if the same were set forth at
length herein.

118. Defendants’ debt collection efforts attempted and/or directed towards the Plaintiff
violated various provisions of the FDCPA, including but not limited to 15 U.S.C. §
1692e.

119. Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive,
or misleading representation or means in connection with the collection of any debt.

120. Defendants violated §1692e :

A. The Letter omits a required representation of the character, amount and/or legal status
of the debt in violation of § 1692e(2)(A);

B. By failing to include all of the necessary information regarding the debt, including the
itemization date, the name of the creditor to whom the debt was owed on the itemization

date, the total amount due at the itemization date, and an itemization of the current

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amount of debt reflecting interest, fees, payments, and credits since the itemization date
in violation of § 1006.34(c){2);
C. By failing to include any specification as to the dates that the validation period would
end in violation of § 1006(c)(3); and
D. By failing to include the dispute prompts prepared by the CFPB, or anything
resembling the same, in violation of § 1006.34(c)(4).
E. By making a false and misleading representation in violation of §1692e(10).

121. By reason thereof, Defendants are liable to Plaintiff for judgment in that
Defendants’ conduct violated the FDCPA by failing to comply with the rules set forth in

12 CFR § 1006 et seg., actual damages, statutory damages, costs, and attorney’s fees.

WHEREFORE, Plaintiff demands judgment from Defendants as follows: Awarding Plaintiff
and statutory and actual damages; costs of this Action, including reasonable attorneys’ fees and
expenses;

pre-judgment interest and post-judgment interest; and awarding Plaintiff any such other and

further relief as this Court may deem just and proper.

COUNT III
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. §1692¢ et seq.
MONARCH, RATCHFORD AND ERIN

122. Plaintiff repeats, reiterates and incorporates the allegations contained in
paragraphs above herein with the same force and effect as if the same were set forth at

length herein.

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123. Defendants’ debt collection efforts attempted and/or directed towards the Plaintiff
violated various provisions of the FDCPA, including but not limited to 15 U.S.C. §
1692g.

124, Pursuant to 15 U.S.C. §1692g(a)(1), a debt collector must provide notice of a
debt, including the amount of the debt.

125. Defendants violated §1692g(a)(1):

a. As the letter fails to clearly state who the current creditor is.

126. By reason thereof, Defendants are liable to Plaintiff for judgment in that

Defendants’ conduct violated Section 1692g(a)(1) of the FDCPA, actual damages,

statutory damages, costs and attorneys’ fees.

WHEREFORE, Plaintiff demands judgment from Defendants as follows: Awarding Plaintiff
and statutory and actual damages; costs of this Action, including reasonable attorneys’ fees and
expenses;

pre-judgment interest and post-judgment interest; and awarding Plaintiff any such other and

further relief as this Court may deem just and proper

COUNT IV
VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.
DEFENDANTS RATCHFORD LAW GROUP P.C AND ERIN M. RECZEK, ESQ

127. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully stated herein.

128. The Defendants failed to validated the debt with account level documentation.

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129. The Defendants sued plaintiff without account level documentation this includes
regularly suing individuals without obtaining underlying documentation, such as account

statements and credit agreements, necessary to ensure the debt is valid and accurate.

130. Defendants falsifying information that Synchrony was suing the plaintiff when in
fact the debt was charged off and resold. .

131. Defendants pursue consumers based lawsuit against the plaintiff on this falsified
information that Synchrony was the plaintiff when they were not..

132. The Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged
in behavior the natural consequence of which was to harass, oppress, or abuse the
Plaintiff in connection with the collection of a debt.

133. The Defendant’s conduct violated 15 U.S.C. § 1692e in that Defendant used false,
deceptive, or misleading representation or means in connection with the collection of a
debt.

134, The Defendant’s conduct violated 15 U.S.C. § 1692e(10) in that Defendant
employed false and deceptive means to collect a debt.

135. The Defendant’s conduct violated 15 U.S.C. § 1692e(11) in that Defendant failed
to inform the consumer that the communication was an attempt to collect a debt.

136. The Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used unfair
and unconscionable means to collect a debt.

137. The Defendant’s conduct violated 15 U.S.C. § 1692f(1) in that Defendant

attempted to collect an amount not authorized by the agreement creating the Debt.

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138. The Defendant’s conduct violated 15 U.S.C. § 1692g(a)(3) in that Defendant
failed to send the Plaintiff a validation notice stating the Plaintiff's right to dispute the
Debt within thirty days.

139. The Defendants’ conduct violated 15 U.S.C. § 1692g(b) in that Defendants
overshadowed Plaintiff's right to dispute the Debt.

140. The foregoing acts and omissions of the Defendant constitute numerous and
multiple violations of the FDCPA, including every one of the above-cited provisions. The

Plaintiff is entitled to damages as a result of Defendant’s violations.

WHEREFORE, Plaintiff demands judgment from Defendants as follows: Awarding Plaintiff
and statutory and actual damages; costs of this Action, including reasonable attorneys’ fees and
expenses;

pre-judgment interest and post-judgment interest; and awarding Plaintiff any such other and

further relief as this Court may deem just and proper

COUNT V
VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
M.G.L. ¢c. 93A § 2, et seq.

DEFENDANTS RATCHFORD LAW GROUP P.C AND ERIN M. RECZEK, ESQ

141. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

142. The Defendant employed unfair or deceptive acts to collect the Debt, in violation
of M.G.L. c. 93A § 2.

143. Defendant’s failure to comply with these provisions constitutes an unfair or
deceptive act under M.G.L. c. 93A § 9 and, as such, the Plaintiff is entitled to double or

treble damages plus reasonable attorney’s fees.

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WHEREFORE, the Plaintiff prays that judgment be entered against Defendant For Actual
damages, Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L. c. 93A §

9(3); and Costs of litigation against Defendants Ratchford and Erin.

_ DEMAND FOR JURY TRIAL
Paul Jones ‘| f dQ

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Springfield, Ma 01109 February 14, 2024
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